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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES -- GENERAL

Case No.        CV 18-2174-JFW(GJSx)                                                 Date: August 6, 2018

Title:          Liu Luwei, et al. -v- Phyto Tech Corp.

PRESENT:
               HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                Shannon Reilly                                   None Present
                Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                        ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                     None

PROCEEDINGS (IN CHAMBERS):                   ORDER DENYING RESPONDENT’S MOTION TO STAY
                                             ENFORCEMENT OF JUDGMENT PENDING APPEAL
                                             [filed 7/16/18; Docket No. 47]

       On July 16, 2018, Respondent Phyto Tech Corp. (“Phyto Tech”) filed a Motion to Stay
Enforcement of Judgment Pending Appeal (“Motion to Stay”). On July 23, 2018, Petitioners Liu
Luwei and Lv Dezheng (collectively, “Petitioners”) filed their Opposition. Phyto Tech filed its Reply
on July 23, 2018. Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule
7-15, the Court finds that this matter is appropriate for decision without oral argument. The hearing
calendared for August 13, 2018 is hereby vacated and the matter taken off calendar. After
considering the moving papers, and the arguments therein, the Court rules as follows:

         “A stay is not a matter of right, even if irreparable injury might otherwise result.” Nken v.
         Holder, 556 U.S. 418, 433 (2009) (quoting Virginian Ry. Co. v. United States, 272 U.S. 658,
         672 (1926)). “It is instead ‘an exercise of judicial discretion,’ and ‘[t]he propriety of its issue
         is dependent upon the circumstances of the particular case.’” Id. (quoting Virginian Ry. Co.,
         272 U.S. at 672–73). Judicial discretion in exercising a stay is to be guided by the following
         legal principles: “(1) whether the stay applicant has made a strong showing that he is likely
         to succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;
         (3) whether issuance of the stay will substantially injure the other parties interested in the
         proceeding; and (4) where the public interest lies.” Lair v. Bullock, 697 F.3d 1200, 1203 (9th
         Cir. 2012) (quoting Nken, 556 U.S. at 434). “The first two Nken facts are the most critical.”
         Id. at 1204 (quotations and citations omitted). The party requesting a stay bears the
         burden of showing that the circumstances justify an exercise of [this Court’s] discretion.”
         Nken, 556 U.S. at 433–34.



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        After considering the parties’ arguments and the record, the Court declines to exercise its
discretion and grant a stay. The Court concludes that the first factor weighs against issuing a stay
because Phyto Tech has failed to make a strong showing that it is likely to succeed on the merits.
The second factor also weighs against issuing a stay because Phyto Tech has not offered anything
more than pure speculation that it will suffer irreparable injury without an immediate stay. Although
Phyto Tech argues that any money paid to Petitioners will likely be sent to China and, therefore, it
will be difficult to repatriate the money if Phyto Tech prevails on its appeal, this argument assumes
that Phyto Tech will actually pay the judgment. In addition, the third factor weighs against issuing a
stay because Petitioners will be harmed because they would be prevented from enforcing the
judgment for at least two years if the Court entered a stay. The fourth factor is neutral, as both
parties have identified public interests that may be served by issuing or denying a stay.
Accordingly, the Court concludes that Phyto Tech has failed to demonstrate that the Nken factors
weigh in favor of issuing a stay.

     Accordingly, Phyto Tech’s Motion to Stay Enforcement of Judgment Pending Appeal is
DENIED.



      IT IS SO ORDERED.




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